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12

13                         UNITED STATES DISTRICT COURT
14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15

16   FLEET CONNECT SOLUTIONS                           Case No. ________________
     LLC,                                            COMPLAINT AGAINST
17
                  Plaintiff,                      TELETRAC NAVMAN US LTD.
18                                                FOR PATENT INFRINGEMENT
19
            v.
20                                                     JURY TRIAL DEMANDED
21   TELETRAC NAVMAN US LTD.,
22                Defendant.                               Hon. __________

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 1         Plaintiff Fleet Connect Solutions LLC (“FCS” or “Plaintiff”) files this
 2   complaint against Teletrac Navman US Ltd., (“Teletrac” or “Defendant”) alleging,
 3   based on its own knowledge as to itself and its own actions, and based on information
 4   and belief as to all other matters, as follows:
 5                              NATURE OF THE ACTION
 6       1.    This is a patent infringement action to stop Defendant’s infringement of the
 7   following United States Patents (collectively, the “Asserted Patents”), copies of which
 8   are attached hereto as Exhibit A, Exhibit B, Exhibit C, Exhibit D, Exhibit E,
 9   Exhibit F, Exhibit G, and Exhibit H respectively:
10               U.S. Patent                             Title
                     No.
11                7,742,388       Packet Generation Systems and Methods.
          A.
12        B.      7,593,751       Conducting Field Operations Using Handheld Data
                                  Management Devices
13        C.       6,961,586      Field Assessments Using Handheld Data
                                  Management Devices
14        D.       8,494,581      System And Methods For Management Of Mobile
                                  Field Assets Via Wireless Handheld Devices
15        E.       7,206,837      Intelligent Trip Status Notification
          F.       7,463,896      System And Method For Enforcing A Vehicle
16                                Code
          G.       7,656,845      Channel Interface Reduction
17
          H.       7,783,304      Wireless Communication Method
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         2.    Plaintiff seeks monetary damages.
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                                          PARTIES
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         3.    Plaintiff is a limited liability company formed under the laws of Texas with
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     a registered office address located in Austin, Texas (Travis County).
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         4.    Teletrac is a limited liability company organized under the laws of the State
23
     of Delaware with its principal place of business located at 310 Commerce, Suite 100,
24
     Irvine, CA 92602.
25
         5.    Teletrac may be served through its registered agent for service, 1505
26
     Corporation CSC Lawyers Incorporating Service, located at 2710 Gateway Oaks
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     Drive, Sacramento, CA 95833.
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 1                              JURISDICTION AND VENUE
 2        6.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
 3   fully set forth in their entirety.
 4        7.     This is an action for infringement of a United States patent arising under 35
 5   U.S.C. §§ 271, 281, and 284–85, among others. This Court has subject matter
 6   jurisdiction of the action under 28 U.S.C. § 1331 and § 1338(a).
 7        8.     Venue is proper against Defendant in this District pursuant to 28 U.S.C. §
 8   1400(b) and 1391(c) because it has maintained established and regular places of
 9   business in this District and has committed acts of patent infringement in the District.
10   See In re: Cray Inc., 871 F.3d 1355, 1362-1363 (Fed. Cir. 2017).
11        9.     Defendant is subject to this Court’s specific and general personal
12   jurisdiction under due process and/or the California Long Arm Statute due at least to
13   Defendant’s substantial business in this judicial district, including: (i) at least a portion
14   of the infringements alleged herein; and (ii) regularly doing or soliciting business,
15   engaging in other persistent courses of conduct, or deriving substantial revenue from
16   goods and services provided to individuals in California and in this district.
17      10.      Specifically, Defendant intends to do and does business in, and has
18   committed acts of infringement in this District directly and through intermediaries,
19   and offered its products or services, including those accused of infringement here, to
20   customers and potential customers located in California, including in this District.
21      11.      Defendant maintains regular and established places of business in this
22   District.
23      12.      For example, Defendant owns, operates, manages, conduct businesses, and
24   directs and controls the operations and employees of facilities at several locations in
25   this District.
26      13.      Defendant maintains its principal place of business in this District.
27      14.      Defendant has committed acts of infringement from this district, including,
28   but not limited to, use of the Accused Products.


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 1                               THE ACCUSED PRODUCTS
 2      15.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
 3   fully set forth in their entirety.
 4      16.     Based upon public information, Defendant owns, operates, advertises,
 5   and/or controls the website www.teletracnavman.com through which it advertises,
 6   sells, offers to sell, provides and/or educates customers about its products and services.
 7      17.     Defendant manufactures, uses, causes to be used, sells, offers for sale,
 8   provides, supplies, or distributes fleet management platform and tracking solution
 9   systems. See, e.g., Exhibit I.
10      18.     Defendant manufactures, uses, causes to be used, sells, offers for sale,
11   provides, supplies, or distributes the Teletrac Navman fleet management platform and
12   tracking solution, which includes, but is not limited to, the TN480, ATS1, Qube300,
13   VT101, VT102, ST101, SI201, RE200, RE400, AT301, MT201, MT501, Smart Quad-
14   Dashcam, Smart Dual-Dashcam, TN360 - Power Take-Off Sensor, Teletrac’s ELD on
15   TN360, DIRECTOR® Electronic Logging Device, TN360 Mobile App(lication),
16   DRIVE App(lication) for Android, TN360 Sentinel ELD App(lication), TN360
17   Messaging App(lication), Insights from TN360, TN360 SmartJobs App(lication),
18   TN360 EasyDocs App(lication), TN360 Forms App(lication), Journey Planner
19   App(lication),    SmartNav       Route   App(lication),   TN360      Pre-trip   Checklist
20   App(lication), TN360 dashboard/software platform, TN360 Fleet Management
21   Software, TN360 ACM Equipment Management Software, GPS Asset Tracking
22   Systems, and associated hardware, software and applications (the “Accused
23   Products”).
24      19.     The Accused Products perform wireless communications and methods
25   associated with performing and/or implementing wireless communications including,
26   but not limited to, wireless communications and methods pursuant to various
27   communication standards, protocols, and implementations, including, but not limited
28   to, Bluetooth, IEEE 802.11, and LTE protocols and various subsections thereof,


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 1   including, but not limited to, 802.11a, 802.11ac, 802.11b, 802.11g, and 802.11n.
 2      20.       The wireless communications performed and/or implemented by the
 3   Accused Products, among other things, transmit data over various media, compute
 4   time slot channels, generate packets for network transmissions, perform or cause to be
 5   performed error estimation in orthogonal frequency division multiplexed (“OFDM”)
 6   receivers, and various methods of processing OFDM symbols.
 7      21.       The Accused Products also track, analyze, and report vehicle maintenance
 8   needs, track or cause to be tracked vehicle locations, and allow for communication
 9   between a system administrator and a remote unit, including broadcasting advisory
10   communications.
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     See Ex. I.
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10   Id.
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12         22.    For these reasons and the additional reasons detailed below, the Accused

13   Products practice at least one claim of each of the Asserted Patents.

14               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 7,742,388

15         23.    FCS repeats and re-alleges the allegations in the Paragraphs above as though

16   fully set forth in their entirety.

17         24.    The USPTO duly issued U.S. Patent No. 7,742,388 (hereinafter, the “’388

18   patent”) on June 22, 2010 after full and fair examination of Application No.

19   11/185,665 which was filed July 20, 2005. A true and correct copy of the ’388 patent

20   is attached as Ex. A.

21         25.    FCS owns all substantial rights, interest, and title in and to the ’388 patent,

22   including the sole and exclusive right to prosecute this action and enforce the ’388

23   patent against infringers and to collect damages for all relevant times.

24         26.    The claims of the ’388 patent are not directed to an abstract idea and are not

25   limited to well-understood, routine, or conventional activity. Rather, the claimed

26   inventions include inventive components that improve upon the function and operation

27   of preexisting systems and methods of generating packets in a digital communications

28   system.
           27.    The written description of the ’388 patent describes in technical detail each
                                                Page | 5
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 1   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
 2   and how the non-conventional and non-generic combination of claim limitations is
 3   patently distinct from and improved upon what may have been considered
 4   conventional or generic in the art at the time of the invention.
 5      28.    Defendant has directly infringed and continues to directly infringe one or
 6   more claims of the ’388 patent by using, selling, offering to sell, providing, supplying,
 7   or distributing the Accused Products.
 8      29.    Defendant has directly infringed and continues to directly infringe, either
 9   literally or under the doctrine of equivalents, at least claim 1 of the ’388 patent.
10      30.    For example, Defendant performs a method including generating a packet
11   with a size corresponding to a protocol used for a network transmission, wherein the
12   packet comprises a preamble having a first training symbol and a second training
13   symbol. The method further includes increasing the size of the packet by adding
14   subcarriers to the second training symbol of the packet to produce an extended packet,
15   wherein a quantity of subcarriers of the second training symbol is greater than a
16   quantity of subcarriers of the first training symbol; and transmitting the extended
17   packet from an antenna.
18      31.    Since at least the time of receiving the original complaint in this action,
19   Defendant has also indirectly infringed and continue to indirectly infringe the ’388
20   patent by inducing others to directly infringe the ’388 patent. Defendant has induced
21   and continue to induce customers and end-users, including, but not limited to,
22   Defendant’s employees, partners, or contractors, to directly infringe, either literally or
23   under the doctrine of equivalents, the ’388 patent by providing or requiring use of the
24   Accused Products. Defendant took active steps, directly or through contractual
25   relationships with others, with the specific intent to cause them to use the Accused
26   Products in a manner that infringes one or more claims of the ’388 patent, including,
27   for example, claim 1. Such steps by Defendant included, among other things, advising
28   or directing customers, personnel, contractors, or end-users to use the Accused


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 1   Products in an infringing manner; advertising and promoting the use of the Accused
 2   Products in an infringing manner; or distributing instructions that guide users to use
 3   the Accused Products in an infringing manner. Defendant is performing these steps,
 4   which constitute induced infringement with the knowledge of the ’388 patent and with
 5   the knowledge that the induced acts constitute infringement. Defendant is aware that
 6   the normal and customary use of the Accused Products by others would infringe the
 7   ’388 patent. Defendant’s inducement is ongoing.
 8      32.     Defendant has also indirectly infringed and continues to indirectly infringe
 9   by contributing to the infringement of the ’388 patent. Defendant has contributed and
10   continues to contribute to the direct infringement of the ’388 patent by its customers,
11   personnel, and contractors. The Accused Products have special features that are
12   specially designed to be used in an infringing way and that have no substantial uses
13   other than ones that infringe one or more claims of the ’388 patent, including, for
14   example, claim 1. The special features constitute a material part of the invention of
15   one or more of the claims of the ’388 patent and are not staple articles of commerce
16   suitable for substantial non-infringing use. Defendant’s contributory infringement is
17   ongoing.
18      33.     Defendant had knowledge of the ’388 patent at least as of the date when it
19   was notified of the filing of this action.
20      34.     Furthermore, on information and belief, Defendant has a policy or practice
21   of not reviewing the patents of others, including instructing its employees to not
22   review the patents of others, and thus have been willfully blind of FCS’s patent rights.
23      35.     Defendant’s actions are at least objectively reckless as to the risk of
24   infringing a valid patent and this objective risk was either known or should have been
25   known by Defendant.
26      36.     Defendant’s infringement of the ’388 patent is, has been, and continues to
27   be willful, intentional, deliberate, or in conscious disregard of FCS’s rights under the
28   patent.


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 1      37.     FCS or its predecessors-in-interest have satisfied all statutory obligations
 2   required to collect pre-filing damages for the full period allowed by law for
 3   infringement of the ’388 patent.
 4      38.     FCS has been damaged as a result of the infringing conduct by Defendant
 5   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
 6   such infringements, which by law cannot be less than a reasonable royalty, together
 7   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 8      39.     FCS has suffered irreparable harm, through its loss of market share and
 9   goodwill, for which there is no adequate remedy at law. FCS has and will continue to
10   suffer this harm by virtue of Defendant’s infringement of the ’388 patent. Defendant’s
11   actions have interfered with and will interfere with FCS’s ability to license technology.
12   The balance of hardships favors FCS’s ability to commercialize its own ideas and
13   technology. The public interest in allowing FCS to enforce its right to exclude
14   outweighs other public interests, which supports injunctive relief in this case.
15            COUNT II: INFRINGEMENT OF U.S. PATENT NO. 7,593,751
16      40.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
17   fully set forth in their entirety.
18      41.     The USPTO duly issued U.S. Patent No. 7,593,751 (hereinafter, the “’751
19   patent”) on September 29, 2009 after full and fair examination of Application No.
20   11/262,699 which was filed on October 31, 2005. See Ex. B.
21      42.     FCS owns all substantial rights, interest, and title in and to the ’751 patent,
22   including the sole and exclusive right to prosecute this action and enforce the ’751
23   patent against infringers and to collect damages for all relevant times.
24      43.     The claims of the ’751 patent are not directed to an abstract idea and are not
25   limited to well-understood, routine, or conventional activity. Rather, the claimed
26   inventions include inventive components that improve upon the function and operation
27   of preexisting communication systems and methods for executing field operations
28   using handheld devices.


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 1      44.    The written description of the ’751 patent describes in technical detail each
 2   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
 3   and how the non-conventional and non-generic combination of claim limitations is
 4   patently distinct from and improved upon what may have been considered
 5   conventional or generic in the art at the time of the invention.
 6      45.    Defendant has directly infringed one or more claims of the ’751 patent by
 7   using, providing, supplying, or distributing the Accused Products.
 8      46.    Defendant has directly infringed, either literally or under the doctrine of
 9   equivalents, at least claim 6 of the ’751 patent.
10      47.    For example, Defendant, using the Accused Products, performs a method
11   for managing data during a field operation using a handheld field data management
12   device, comprising the steps of: providing a handheld field data management device
13   to a user, said handheld field data management device configured to enable the user
14   to manage data collected at a field operation location, wherein said field data
15   management device includes: a memory containing at least one field data management
16   program module for working with a microprocessor to process instructions enabling a
17   handheld field assessment device user to find a field operation location, collect
18   industry-specific data at the field operation location, and communicate in real-time
19   with a remote server to transfer data to and from a remote server, obtain updated
20   instructions or procedures, and for retrieving third party information useful for the
21   field operation from the Internet; a microprocessor executing said at least one field
22   data management program; a positioning module including GPS for determining
23   handheld device location and configured to coordinate with mapping software to
24   provide map directions to field operation locations; a display for viewing field related
25   data, maps and third party information retrieved from the Internet; a user interface
26   adapted for enabling the handheld data management device user to interact with said
27   at least one field data management program; and a wireless communication module
28   for providing communications between the handheld field assessment device and the


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 1   remote server, and for providing communications with third party resources from the
 2   Internet in support of field operations; enabling the user to access instructions
 3   including mapped directions from at least one of said field data management program
 4   and said remote sever to assist the user in finding a field operation location based on
 5   the location of the handheld field data management device; enabling the user to access
 6   instructions from said at least one field data management program to assist the user in
 7   collecting industry-specific data at the field operation location; and enabling the user
 8   to access instructions from said at least one field data management program to assist
 9   the user in communicating with a remote server using the handheld field data
10   management device before, during and after the collection of industry-specific data at
11   the field operation location.
12      48.     FCS or its predecessors-in-interest have satisfied all statutory obligations
13   required to collect pre-filing damages for the full period allowed by law for
14   infringement of one or more claims of the ’751 patent.
15      49.     FCS has been damaged as a result of the infringing conduct by Defendant
16   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
17   such infringements, which by law cannot be less than a reasonable royalty, together
18   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
19            COUNT III: INFRINGEMENT OF U.S. PATENT NO. 6,961,586
20      50.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
21   fully set forth in their entirety.
22      51.     The USPTO duly issued U.S. Patent No. 6,961,586 (hereinafter, the “’586
23   patent”) on November 1, 2005 after full and fair examination of Application No.
24   09/955,543 which was filed on September 17, 2001. See Ex. C. A Certificate of
25   Correction was issued on June 25, 2013. See id.
26      52.     FCS owns all substantial rights, interest, and title in and to the ’586 patent,
27   including the sole and exclusive right to prosecute this action and enforce the ’586
28   patent against infringers and to collect damages for all relevant times.


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 1      53.    The claims of the ’586 patent are not directed to an abstract idea and are not
 2   limited to well-understood, routine, or conventional activity. Rather, the claimed
 3   inventions include inventive components that improve upon the function and operation
 4   of preexisting communication systems and methods for executing field operations
 5   using handheld devices.
 6      54.    The written description of the ’586 patent describes in technical detail each
 7   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
 8   and how the non-conventional and non-generic combination of claim limitations is
 9   patently distinct from and improved upon what may have been considered
10   conventional or generic in the art at the time of the invention.
11      55.    Defendant has directly infringed one or more claims of the ’586 patent by
12   using, providing, supplying, or distributing the Accused Products.
13      56.    Defendant has directly infringed, either literally or under the doctrine of
14   equivalents, at least claim 9 of the ’586 patent.
15      57.    For example, Defendant, using the Accused Products, performs a method of
16   conducting a field assessment using a handheld data management device, comprising:
17   providing a hand held data management device user performing as a field assessor
18   access to an industry-specific field assessment program module for enabling the field
19   assessor to execute at least one of the following field assessments: construction
20   industry project analysis, HVAC system analysis; project management, equipment
21   readiness, system and equipment troubleshooting, remote inventory tracking and
22   ordering, conducting legal investigations in the field, and multi-users remote function
23   coordination; executing said program module to conduct the field assessment;
24   providing field-specific information required by said program module for said
25   program module to render data in support of said field assessment; and retrieving data
26   through said handheld data management device in support of said field assessment.
27      58.    FCS or its predecessors-in-interest have satisfied all statutory obligations
28   required to collect pre-filing damages for the full period allowed by law for


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 1   infringement of one or more claims of the ’586 patent.
 2      59.     FCS has been damaged as a result of the infringing conduct by Defendant
 3   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
 4   such infringements, which by law cannot be less than a reasonable royalty, together
 5   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 6            COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 8,494,581
 7      60.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
 8   fully set forth in their entirety.
 9      61.     The USPTO duly issued U.S. Patent No. 8,494,581 (hereinafter, the “’581
10   patent”) on July 23, 2013 after full and fair examination of Application No. 12/547,363
11   which was filed on August 25, 2009. See Ex. D.
12      62.     FCS owns all substantial rights, interest, and title in and to the ’581 patent,
13   including the sole and exclusive right to prosecute this action and enforce the ’581
14   patent against infringers and to collect damages for all relevant times.
15      63.     The claims of the ’581 patent are not directed to an abstract idea and are not
16   limited to well-understood, routine, or conventional activity. Rather, the claimed
17   inventions include inventive components that improve upon the function and operation
18   of systems and methods of managing mobile assets.
19      64.     The written description of the ’581 patent describes in technical detail each
20   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
21   and how the non-conventional and non-generic combination of claim limitations is
22   patently distinct from and improved upon what may have been considered
23   conventional or generic in the art at the time of the invention.
24      65.     Defendant has directly infringed one or more claims of the ’581 patent by
25   using, providing, supplying, or distributing the Accused Products.
26      66.     Defendant has directly infringed, either literally or under the doctrine of
27   equivalents, at least claim 1 of the ’581 patent.
28      67.     For example, Defendant, using the Accused Products, performs a method,


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 1   comprising: using a handheld device to access an assessment program stored in a
 2   memory of a computing device located geographically remote from the handheld
 3   device, the assessment program being configured to enable a field assessment in a
 4   specific industry; collecting field data associated with the field assessment using the
 5   handheld device in response to the assessment program; using the handheld device to
 6   determine a geographical location of the handheld device; and communicating the
 7   field data collected using the handheld device and the geographical location of the
 8   handheld device to the computing device.
 9      68.     FCS or its predecessors-in-interest have satisfied all statutory obligations
10   required to collect pre-filing damages for the full period allowed by law for
11   infringement of one or more claims of the ’581 patent.
12      69.     FCS has been damaged as a result of the infringing conduct by Defendant
13   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
14   such infringements, which by law cannot be less than a reasonable royalty, together
15   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
16            COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,206,837
17      70.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
18   fully set forth in their entirety.
19      71.     The USPTO duly issued U.S. Patent No. 7,206,837 (the “’837 patent”) on
20   April 17, 2007, after full and fair examination of Application No. 10/287,151 which
21   was filed November 4, 2002. A true and correct copy of the ’837 patent is attached as
22   Ex. E.
23      72.     FCS owns all substantial rights, interest, and title in and to, the ’837 patent
24   including the sole and exclusive right to prosecute this action and enforce it against
25   infringers and to collect damages for all relevant times.
26      73.     The claims of the ’837 patent are not directed to an abstract idea and are not
27   limited to well-understood, routine, or conventional activity. Rather, the claimed
28   inventions include inventive components that improve upon the function and operation


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 1   of voice and data communications systems.
 2      74.    The written description of the ’837 patent describes in technical detail each
 3   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
 4   and how the non-conventional and non-generic combination of claim limitations is
 5   patently distinct from and improved upon what may have been considered
 6   conventional or generic in the art at the time of the invention.
 7      75.    Defendant has directly infringed and continues to directly infringe one or
 8   more claims of the ’837 patent by manufacturing, providing, supplying, using,
 9   distributing, selling, or offering to sell the Accused Products.
10      76.    Defendant has directly infringed and continue to directly infringe, either
11   literally or under the doctrine of equivalents, at least claim 1 of the ’837 patent.
12      77.    For example, Defendant, using the Accused Products, performs a method
13   comprising receiving a location of a mobile communications device that is in transit
14   to a destination, estimating the time-of-arrival bounds for said mobile communications
15   device at said destination for a confidence interval based on said location and at least
16   one historical travel time statistic, and sending the time-of-arrival bounds to said
17   mobile communications device.
18      78.    Defendant has indirectly infringed and continues to indirectly infringe the
19   ’837 patent by inducing others to directly infringe the ’837 patent. Defendant has
20   induced and continues to induce customers and end-users, including, but not limited
21   to, Defendant’s customers, employees, partners, or contractors, to directly infringe,
22   either literally or under the doctrine of equivalents, the ’837 patent by providing or
23   requiring use of the Accused Products. Defendant has taken active steps, directly or
24   through contractual relationships with others, with the specific intent to cause them to
25   use the Accused Products in a manner that infringes one or more claims of the ’837
26   patent, including, for example, claim 1. Such steps by Defendant have included,
27   among other things, advising or directing customers, personnel, contractors, or end-
28   users to use the Accused Products in an infringing manner; advertising and promoting


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 1   the use of the Accused Products in an infringing manner; or distributing instructions
 2   that guide users to use the Accused Products in an infringing manner. Defendant has
 3   been performing these steps, which constitute induced infringement with the
 4   knowledge of the ’837 patent and with the knowledge that the induced acts constitute
 5   infringement. Defendant has been aware that the normal and customary use of the
 6   Accused Products by others would infringe the ’837 patent. Defendant’s inducement
 7   is ongoing.
 8      79.     Defendant has indirectly infringed and continues to indirectly infringe by
 9   contributing to the infringement of the ’837 patent. Defendant has contributed and
10   continues to contribute to the direct infringement of the ’837 patent by its customers,
11   personnel, and contractors. The Accused Products have special features that are
12   specially designed to be used in an infringing way and that have no substantial uses
13   other than ones that infringe one or more claims of the ’837 patent, including, for
14   example, claim 1. The special features constitute a material part of the invention of
15   one or more of the claims of the ’837 patent and are not staple articles of commerce
16   suitable for substantial non-infringing use. Defendant’s contributory infringement is
17   ongoing.
18      80.     Defendant had knowledge of the ’837 patent at least as of the date when it
19   was notified of the filing of this action.
20      81.     Furthermore, on information and belief, Defendant has a policy or practice
21   of not reviewing the patents of others, including instructing its employees to not
22   review the patents of others, and thus have been willfully blind of FCS’s patent rights.
23      82.     Defendant’s actions are at least objectively reckless as to the risk of
24   infringing a valid patent and this objective risk was either known or should have been
25   known by Defendant.
26      83.     Defendant’s infringement of the ’837 patent is, has been, and continues to
27   be willful, intentional, deliberate, or in conscious disregard of FCS’s rights under the
28   patent.


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 1      84.     FCS or its predecessors-in-interest have satisfied all statutory obligations
 2   required to collect pre-filing damages for the full period allowed by law for
 3   infringement of the ’837 patent.
 4      85.     FCS has been damaged as a result of the infringing conduct by Defendant
 5   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
 6   such infringements, which by law cannot be less than a reasonable royalty, together
 7   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 8      86.     FCS has suffered irreparable harm, through its loss of market share and
 9   goodwill, for which there is no adequate remedy at law. FCS has and will continue to
10   suffer this harm by virtue of Defendant’s infringement of the ’837 patent. Defendant’s
11   actions have interfered with and will interfere with FCS’s ability to license technology.
12   The balance of hardships favors FCS’s ability to commercialize its own ideas and
13   technology. The public interest in allowing FCS to enforce its right to exclude
14   outweighs other public interests, which supports injunctive relief in this case.
15            COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 7,463,896
16      87.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
17   fully set forth in their entirety.
18      88.     The USPTO duly issued U.S. Patent No. 7,463,896 (hereinafter, the “’896
19   patent”) on December 9, 2008 after full and fair examination of Application No.
20   11/542,850 which was filed on September 20, 2006. See Ex. F. A Certificate of
21   Correction was issued on August 13, 2013. See id.
22      89.     FCS owns all substantial rights, interest, and title in and to the ’896 patent,
23   including the sole and exclusive right to prosecute this action and enforce the ’896
24   patent against infringers and to collect damages for all relevant times.
25      90.     The claims of the ’896 patent are not directed to an abstract idea and are not
26   limited to well-understood, routine, or conventional activity. Rather, the claimed
27   inventions include inventive components that improve upon the function and operation
28   of preexisting systems for enforcing vehicle codes.


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 1      91.    The written description of the ’896 patent describes in technical detail each
 2   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
 3   and how the non-conventional and non-generic combination of claim limitations is
 4   patently distinct from and improved upon what may have been considered
 5   conventional or generic in the art at the time of the invention.
 6      92.    Defendant has directly infringed the ’896 patent by importing, selling,
 7   manufacturing, offering to sell, using, providing, supplying, or distributing the
 8   Accused Products.
 9      93.    Defendant has directly infringed, either literally or under the doctrine of
10   equivalents, at least claim 1 of the ’896 patent.
11      94.    For example, Defendant, using the Accused Products, performs a method
12   for enforcing a vehicle code.           The method includes receiving a wireless
13   communication signal by a first mobile unit having a unique identifier, the wireless
14   communication signal transmitted by a second mobile unit associated with a vehicle;
15   downconverting data in the received wireless communication signal from radio
16   frequency to baseband; determining based on the downconverted data: a vehicle
17   identifier associated with the vehicle, and a GPS position associated with the vehicle;
18   determining by a system administrator a status of the vehicle using the vehicle
19   identifier to monitor the vehicle for code enforcement, wherein the determining the
20   status includes parsing the received wireless communication signal to determine the
21   status of the vehicle; generating baseband message data indicating the status by
22   constructing at least one data packet from a plurality of data fields, the data fields
23   including the unique identifier of the first mobile unit and the vehicle identifier; and
24   upconverting the baseband message data to radio frequency for transmission to the
25   second mobile unit, thereby transmitting the upconverted baseband message data
26   indicating the status of the vehicle.
27      95.    FCS has been damaged as a result of the infringing conduct by Defendant
28   alleged above. Defendant is liable to FCS in an amount that compensates it for such


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 1   infringements, which by law cannot be less than a reasonable royalty, together with
 2   interest and costs as fixed by this Court under 35 U.S.C. § 284.
 3      96.     FCS or its predecessors-in-interest have satisfied all statutory obligations
 4   required to collect pre-filing damages for the full period allowed by law for
 5   infringement of the ’896 patent.
 6            COUNT VII: INFRINGEMENT OF U.S. PATENT NO. 7,656,845
 7      97.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
 8   fully set forth in their entirety.
 9      98.     The USPTO duly issued U.S. Patent No. 7,656,845 (hereinafter, the “’845
10   patent”) on February 2, 2010, after full and fair examination of Application No.
11   11/402,172 which was filed on April 11, 2006. See Ex. G. A Certificate of Correction
12   was issued on November 30, 2010. See id.
13      99.     FCS owns all substantial rights, interest, and title in and to the ’845 patent,
14   including the sole and exclusive right to prosecute this action and enforce the ’845
15   patent against infringers and to collect damages for all relevant times.
16     100.     The claims of the ’845 patent are not directed to an abstract idea and are not
17   limited to well-understood, routine, or conventional activity. Rather, the claimed
18   inventions include inventive components that improve upon the function and operation
19   of preexisting systems and methods of wireless communication with a mobile unit.
20     101.     The written description of the ’845 patent describes in technical detail each
21   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
22   and how the non-conventional and non-generic combination of claim limitations is
23   patently distinct from and improved upon what may have been considered
24   conventional or generic in the art at the time of the invention.
25     102.     Defendant has directly infringed the ’845 patent by importing, selling,
26   manufacturing, offering to sell, using, providing, supplying, or distributing the
27   Accused Products.
28     103.     Defendant has directly infringed, either literally or under the doctrine of

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 1   equivalents, at least claim 12 of the ’845 patent.
 2     104.     For example, the Accused Products used by Defendant provide a system
 3   comprising a processor, a first transceiver configured to communicate via a first
 4   medium, a second transceiver configured to communicate via a second medium,
 5   wherein at least one of the first transceiver and the second transceiver is configured to
 6   retry transmission of a packet at a lower rate if a prior transmission of the packet is
 7   not acknowledged, an allocation unit configured to dynamically allocate data channels
 8   to one of the first medium and the second medium based upon a desired level of
 9   service.
10     105.     Since at least the time of receiving the original complaint in this action,
11   Defendant has also indirectly infringed the ’845 patent by inducing others to directly
12   infringe the ’845 patent. Defendant has induced distributors and end-users, including,
13   but not limited to, Defendant’s employees, partners, contractors, or customers, to
14   directly infringe, either literally or under the doctrine of equivalents, the ’845 patent
15   by providing or requiring use of the Accused Products. Defendant took active steps,
16   directly or through contractual relationships with others, with the specific intent to
17   cause them to use the Accused Products in a manner that infringes one or more claims
18   of the ’845 patent, including, for example, claim 12 of the ’845 patent. Such steps by
19   Defendant include, among other things, advising or directing personnel, contractors,
20   or end-users to use the Accused Products in an infringing manner; advertising and
21   promoting the use of the Accused Products in an infringing manner; or distributing
22   instructions that guide users to use the Accused Products in an infringing manner.
23   Defendant is performing these steps, which constitute induced infringement with the
24   knowledge of the ’845 patent and with the knowledge that the induced acts constitute
25   infringement. Defendant is aware that the normal and customary use of the Accused
26   Products by others would infringe the ’845 patent.         Defendant’s inducement is
27   ongoing.
28     106.     Defendant has also indirectly infringed by contributing to the infringement


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 1   of the ’845 patent. Defendant has contributed to the direct infringement of the ’845
 2   patent by its personnel, contractors, distributors, and customers.       The Accused
 3   Products have special features that are designed to be used in an infringing way and
 4   that have no substantial uses other than ones that infringe one or more claims of the
 5   ’845 patent, including, for example, claim 12 of the ’845 patent. The special features
 6   constitute a material part of the invention of one or more of the claims of the ’845
 7   patent and are not staple articles of commerce suitable for substantial non-infringing
 8   use. Defendant’s contributory infringement is ongoing.
 9     107.    Defendant had knowledge of the ’845 patent at least as of the date when it
10   was notified of the filing of this action.
11     108.    Furthermore, on information and belief, Defendant has a policy or practice
12   of not reviewing the patents of others, including instructing its employees to not
13   review the patents of others, and thus has been willfully blind of FCS’s patent rights.
14     109.    Defendant’s actions are at least objectively reckless as to the risk of
15   infringing a valid patent and this objective risk was either known or should have been
16   known by Defendant.
17     110.    Defendant’s direct infringement of the ’845 patent is, has been, and
18   continues to be willful, intentional, deliberate, or in conscious disregard of FCS’s
19   rights under the patent.
20     111.    FCS or its predecessors-in-interest have satisfied all statutory obligations
21   required to collect pre-filing damages for the full period allowed by law for
22   infringement of the ’845 patent.
23     112.    FCS has been damaged as a result of the infringing conduct by Defendant
24   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
25   such infringements, which by law cannot be less than a reasonable royalty, together
26   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
27     113.    FCS has suffered irreparable harm, through its loss of market share and
28   goodwill, for which there is no adequate remedy at law. FCS has and will continue to


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 1   suffer this harm by virtue of Defendant’s infringement of the ’845 patent. Defendant’s
 2   actions have interfered with and will interfere with FCS’s ability to license technology.
 3   The balance of hardships favors FCS’s ability to commercialize its own ideas and
 4   technology. The public interest in allowing FCS to enforce its right to exclude
 5   outweighs other public interests, which supports injunctive relief in this case.
 6            COUNT VIII: INFRINGEMENT OF U.S. PATENT NO. 7,783,304
 7     114.     FCS repeats and re-alleges the allegations in the Paragraphs above as though
 8   fully set forth in their entirety.
 9     115.     The United States Patent and Trademark Office (“USPTO”) duly issued
10   U.S. Patent No. 7,783,304 (the “’304 patent”) on August 24, 2010, after full and fair
11   examination of Application No. 12/546,645, which was filed on August 24, 2009. See
12   Ex. H. A Certificate of Correction was issued on May 28, 2013. See id.
13     116.     FCS owns all substantial rights, interest, and title in and to the ’304 patent,
14   including the sole and exclusive right to prosecute this action and enforce the ’304
15   patent against infringers and to collect damages for all relevant times.
16     117.     The claims of the ’304 patent are not directed to an abstract idea and are not
17   limited to well-understood, routine, or conventional activity. Rather, the claimed
18   inventions include inventive components that improve upon the function and operation
19   of preexisting systems and methods of wireless communication with a mobile unit.
20     118.     The written description of the ’304 patent describes in technical detail each
21   limitation of the claims, allowing a skilled artisan to understand the scope of the claims
22   and how the non-conventional and non-generic combination of claim limitations is
23   patently distinct from and improved upon what may have been considered
24   conventional or generic in the art at the time of the invention.
25     119.     Defendant has directly infringed the ’304 patent by importing, selling,
26   manufacturing, offering to sell, using, providing, supplying, or distributing the
27   Accused Products.
28     120.     Defendant has directly infringed, either literally or under the doctrine of


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 1   equivalents, at least claim 1 of the ’304 patent.
 2     121.    For example, Defendant, using the Accused Products, performs a method of
 3   wirelessly communicating with a mobile unit. The method includes establishing a
 4   communication link between a first mobile unit and a website; searching a list of users
 5   via a log comprising an address of a second mobile unit; outputting a match
 6   comprising the address of the second mobile unit via a display; constructing a
 7   communication comprising a plurality of information fields, the plurality of
 8   information fields comprising an address of the first mobile unit and the address of the
 9   second mobile unit; transmitting the communication from the first mobile unit,
10   through the website, to the second mobile unit; and storing information related to the
11   communication in a communication log.
12     122.    FCS or its predecessors-in-interest have satisfied all statutory obligations
13   required to collect pre-filing damages for the full period allowed by law for
14   infringement of the ’304 patent.
15     123.    FCS has been damaged as a result of the infringing conduct by Defendant
16   alleged above. Thus, Defendant is liable to FCS in an amount that compensates it for
17   such infringements, which by law cannot be less than a reasonable royalty, together
18   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
19                                      JURY DEMAND
20     124.    FCS hereby requests a trial by jury on all issues so triable by right.
21                                 PRAYER FOR RELIEF
22     125.    FCS requests that the Court find in its favor and against Defendant, and that
23   the Court grant FCS the following relief:
24      a. Judgment that one or more claims of each of the Asserted Patents has been
25         infringed, either literally or under the doctrine of equivalents, by Defendant or
26         others acting in concert therewith;
27      b. An award of a reasonable royalty for infringement Asserted Patents;
28      c. A permanent injunction enjoining Defendant and its officers, directors, agents,


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 1        servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all
 2        others acting in concert therewith from infringement of the ’388, ’837, and ’845
 3        patents or, in the alternative, an award of a reasonable ongoing royalty for future
 4        infringement of these patents by such entities;
 5     d. Judgment that Defendant accounts for and pays to FCS all damages to and costs
 6        incurred by FCS because of Defendant’s infringing activities and other conduct
 7        complained of herein;
 8     e. Judgment that Defendant’s infringements be found willful as to the ’388, ’837,
 9        and ’845 patents, and that the Court award treble damages for the period of such
10        willful infringement pursuant to 35 U.S.C. § 284;
11     f. Pre-judgment and post-judgment interest on the damages caused by Defendant’s
12        infringing activities and other conduct complained of herein;
13     g. That this Court declare this an exceptional case and award FCS its reasonable
14        attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and
15     h. All other and further relief as the Court may deem just and proper under the
16        circumstances.
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17                                                       * pro hac vice forthcoming
18
     List of Exhibits
19      A. U.S. Patent No. 7,742,388
20      B. U.S. Patent No. 7,593,751
        C. U.S. Patent No. 6,961,586
21      D. U.S. Patent No. 8,494,581
22      E. U.S. Patent No. 7,206,837
        F. U.S. Patent No. 7,463,896
23
        G. U.S. Patent No. 7,656,845
24      H. U.S. Patent No. 7,783,304
        I. Website: Teletrac Navman ELD on TN360
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